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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JANE DOE,                                        :
                                                 :
Plaintiff,                                       :      Case No. 2:20-cv-00459
                                                 :
v.                                               :      Judge James L. Graham
                                                 :
ANDREW K. MITCHELL, et al.,                      :      Magistrate Judge Litkovitz
                                                 :
Defendants.                                      :




                    DEFENDANT ANDREW K. MITCHELL’S MOTION
                        FOR JUDGMENT ON THE PLEADINGS


         NOW COMES THE DEFENDANT, Andrew K. Mitchell (“Defendant” or “Mitchell”),

by and through undersigned counsel, and pursuant to Rule 12(c) of the Federal Rules of Civil

Procedure, hereby joins the Motion of Defendant City of Columbus for Judgment on the

Pleadings, filed September 8, 2020 (Doc. #16) (“Motion”). Said motion is hereby incorporated

by this reference as though fully restated here. For the same reasons as set forth therein,

Defendant Mitchell respectfully requests that the Court grant the Motion and enter judgment

against the Plaintiff and in his favor.

                                          Respectfully submitted,

                                          WALKER NOVACK LEGAL GROUP, LLC

                                          /s/ Scott C. Walker_____________________
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                                             Attorneys for Defendant Andrew K. Mitchell

                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served upon all parties of record via

the Court’s ECF filing system this 9th day of September 2020.


                                             /s/ Scott C. Walker______________________
                                             Attorney for Defendant Andrew K. Mitchell




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